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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

TIM WALSH, JULIE WALSH, GREGORY )                     Case No.: 0:19-cv-01856-DSD-DTS
KETCHUM, PATRICIA KETCHUM,             )
PETER MURPHY, SAM PETERSON, and )
FRANK BACA, on Behalf of Themselves )
and All Others Similarly Situated,     )
                                       )         THE ST. RENATUS DEFENDANTS’
                           Plaintiffs, )         AMENDED NOTICE OF HEARING
      v.                               )            ON THEIR MOTION FOR
                                       )             SUMMARY JUDGMENT
CLIFFORD M. BUCHHOLZ, MICHAEL J. )
HEROLD, RYAN A. MARTORANO,             )
MICK A. OCCHIATO, FRANK R.             )
RAMIREZ, BRENT M. T. KEELE,            )
STEPHEN D. TEBO, JERRY                 )
MORGENSEN, JAMES L. PARKE,             )
JOSEPH D. SCHOFIELD, III, ST.          )
RENATUS, LLC, and SR MERGER SUB, )
LLC,                                   )
                                       )
                           Defendants. )



            PLEASE TAKE NOTICE that on December 13, 2022, at 10:30 a.m., Defendants

ST. RENATUS, LLC, FRANK R. RAMIREZ, BRENT M.T. KEELE, STEPHEN D.

TEBO, JERRY MORGENSEN, JAMES L. PARKE, JOSEPH D. SCHOFIELD, III, and

SR MERGER SUB, LLC (the “St. Renatus Defendants”), will appear before The

Honorable David S. Doty, Magistrate Judge, United States District Court for the District

of Minnesota, Courtroom 14W, 300 South Fourth Street, Minneapolis, Minnesota 55415,

for a hearing on the St. Renatus Defendants’ Motion for Summary Judgment.




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 Dated: August 24, 2022              GORDON REES SCULLY MANSUKHANI, LLP

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                                     Schofield, III, and SR Merger Sub, LLC




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